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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                               Plaintiff,         )
V.                                                ) CRIMINAL NO. DR-20-CR-1206-AM
                                                  )
TREVER LLOYD SEXTON,                              )
                                                  )
                               Defendant.         )

                            FINAL JUDGMENT OF FORFEITURE

       Came on to be considered the United States of America's Motion for Final Judgment of

Forfeiture (ECF No._____), pursuant to FED. R. CRIM. P. 32.2(c)(2) and Title 21 U.S.C. §

853(n)(1)-(7), and this Court being fully and wholly apprised in all its premises, finds that: the

United States of America has proven by a preponderance of the evidence the nexus between the

property described below and Title 18 U.S.C. §§ 2251(a) & (e) violations by virtue of the

Defendant’s written Plea Agreement with the factual basis contained therein; and the Defendant

has an interest in the Subject Property. Said Motion is meritorious and should be, and hereby is

GRANTED.

       IT IS THEREFORE ORDERED that all right, title, and interest of Defendant TREVER

LLOYD SEXTON in the below property, namely:

       1. Galaxy Note 9 Model SM-N960U cell phone with Android ID addl30aee4cbf814; and
       2. Bluetooth Speaker,

hereinafter referred to as the Subject Property, be, and hereby is, forfeited to the United States of

America.

       IT IS FURTHER ORDERED that all right, title, and interest of all other potential

petitioners in the Subject Property, be, and hereby is, held in default and FORFEITED to the

United States of America.
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          IT IS FURTHER ORDERED that the Department of Homeland Security and/or its

designated agent, shall dispose of the Subject Property in accordance with law.

          IT IS FURTHER ORDERED that this Court's Preliminary Order of Forfeiture (ECF No.

40), in so much as may be applicable and consistent with this Order, shall remain in full force and

effect.

          SIGNED this          day of                               , 2023.




                                             HONORABLE ALIA MOSES
                                             CHIEF, UNITED STATES DISTRICT JUDGE




                                                2
